Case 19-12657-VFP          Doc 23   Filed 09/09/19 Entered 09/09/19 17:23:58             Desc Main
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UNITED STATES BANKRUPTCY COURT
                                                                     Order Filed on September 9, 2019
DISTRICT OF NEW JERSEY                                               by Clerk
                                                                     U.S. Bankruptcy Court
                                                                     District of New Jersey

 In Re:
                                                         Case No.:            19-12657
                                                                         __________________
  Christopher F. Cruz
                                                         Hearing Date: __________________

                                                         Judge:            Vincent F. Papalia
                                                                         __________________
                                Debtor,



                         ORDER VACATING ORDER OF DISMISSAL$1'),1$/'(&5((

              The relief set forth on the following pages, numbered two (2) through two (2) is hereby
ORDERED.




 DATED: September 9, 2019
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       The Court finds that, (i) the Order of Dismissal entered in the above-captioned case
 on 4/5/2019, and (ii) the Final Decree entered on 5/28/2019 must both be vacated as
a motion to re-open this case was granted and an order re-opeing the case and appointing a Trustee
was entered on 9/6/2019, and due notice having been given, and for good cause shown, it is
hereby


        ORDERED that said Order of Dismissal and Final Decree be and the same
are
is hereby vacated.
